Case 1:03-md-01570-GBD-SN Document 1979 Filed 06/06/07 Page 1 of 4

UNITED STATES DISTRICT COURT | D pane t u
SOUTHERN DISTRICT OF NEW YO. ee a

03 MDL 1570 (RCC)
In re Terrorist Attacks on September 1],2001 | ECF Case

This document relates to:
Federal Insurance Co., et al. v, Al Gaida, et al., Case No. 03-CV-6978 (S.D.N.Y.)
New York Marine and General insurance Co. y, Al Qaida, et al., Case No. 04-CY-6105
(S.D.N.Y.)
Estate of John PF, O'Neill, Sr., on behalf John P. O'Neill, Sr., deceased, and on behalf af
decedent's heirs-at-law, et al, v. Republic of Iraq., et al., Case No, 04-CV-1076
(S.DNY.)
AMENDED STIPULATION AS TO SERVICE OF PROCESS, RELIEF FROM AND
SETTING ASIDE OF DEFAULT, AND EXTENSION OF TIME TO RESPOND TO
OMPLAINTS CONSOLIDAT. 1576
WHEREAS, the Plaintiffs in each of the three above-referenced cases consolidated under
03 MDL 1570 (“Plaintiffs”), and Defendant Republic of Iraq (“Republic of Iraq”), have entered
into a Stipulation a3 to Service of Process, Relief From snd Setting Aside of Default, and
Extension of Time to Respond to Complaints Consolidated Under MDL 1570 (Global
Stipulation #1") that was endorsed by Judge Richard C, Casey on November 27, 2006 (MDL
Docket No. 1922);
WHEREAS, pursuant to the schedule set forth in Global Stipulation #1, the Republic of
Traq sent a letter to the Plaintiffs an January 1, 2007 identifying those areas relative to which the
Republic of lraq requested supplemental pleading; and
WHEREAS, pursuant to the schedule set forth in Global Stipulation #1, Plaintiffs filed
RICO Statements and More Definite Statements as to the Republic of lraq on March 7, 2007;

and

Case 1:03-md-01570-GBD-SN Document1979 Filed 06/06/07 Page 2 of 4

WHEREAS, the parties wish to extend the remaining deadlines set forth in Global
Stipulation #1;

IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiffs and the
Republic of Iraq, by and through their undersigned counsel, that the deadlines set forth in Global
Stipulation #1 shail be extended as follows:

(1) The Republic of Iraq shall file 2 consolidated Motion to Dismiss the Complaint in
each of the cases referenced above on or before July 16, 2007;

(2) Plaintiffs shall file a consolidated Opposition to the Republic of Iraq’s Motion to
Dismiss on or before September 14, 2007;

(3) The Republic of Iraq shalt file reply papers, if any, on or before October 29, 2007.

IT 18 FURTHER HEREBY STIPULATED AND AGREED that all other provisions of

Global Stipulation #] remain in full force and effect.

DATED: May 21, 2007 Respectfully submitted,

J. Scott Tarbutton
1900 Market Street
Philadelphia, PA 19103

Attorneys for Federal Insurance Plaintiffs

Case 1:03-md-01570-GBD-SN Document 1979 Filed 06/06/07 Page 3 of 4

LAW OFFICES OF JERRY S. GOLDMAN
& ASSOCIATES

By:

. Gold
Penn Génter Plaza
1500 .F.K. Blvd. Suite 1411
Philadelphia, PA 19102

Attorneys for O'Neill Plaintiffs

BROWN GAVALA3}& FROMM, LLP

By:

Frank J. Rubino, Jr.
55 Lexington Avenue

New York, New York 10017

Attorneys for New York Marine Plaintiffs

MAGGS & McDERMOTT LLC

— >
By: Lines B Mabel) —
Timothy B

910 17th Street N.W.,Suite 800
Washington,D.C. 20006

Lead Counsel for Defendant
Republic of Trag

BAKER & HOSTETLER LLP

wy Lh bi —
Marc D. Powers

666 Fifth Avenue, 16% Floor
New York, New York 10103

Co-Counsel for Defendant Republic of
Trag

Case 1:03-md-01570-GBD-SN Document 1979 Filed 06/06/07 Page 4 of 4

SO ORDERED:

figs bo Dade ., vg!

GEGRGE B. DANIELS, U.S.D.J.

oe et 7
ae

PRILADELPHIA\29S254712 117439.000

